            Case 6:22-cv-00077-ADA Document 4 Filed 01/20/22 Page 1 of 40




                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION


SPEIR TECHNOLOGIES LTD.,

                       Plaintiff,                   Case No. 6:22-cv-00077

                v.                                  JURY TRIAL DEMANDED

APPLE INC.,

                       Defendant.


                       COMPLAINT FOR PATENT INFRINGEMENT
                               AGAINST APPLE INC.

       This is an action for patent infringement arising under the Patent Laws of the United States

of America, 35 U.S.C. § 1 et seq., in which Plaintiff Speir Technologies Limited (“Plaintiff” or

“Speir”) makes the following allegations against Defendant Apple Inc. (“Defendant” or “Apple”):

                                        INTRODUCTION

       1.       This complaint arises from Apple’s unlawful infringement of the following United

States patents owned by Plaintiff, which relate to improvements in mobile communications

systems: United States Patent Nos. 8,345,780 (“the ’780 Patent”) and 7,321,777 (“the ’777

Patent”) (collectively, the “Asserted Patents”).

                                             PARTIES

       2.       Plaintiff Speir Technologies Limited is a limited liability company organized and

existing under the law of Ireland, with its principal place of business at The Hyde Building, Suite

23, The Park, Carrickmines, Dublin 18, Ireland. Speir is the sole owner by assignment of all rights,

title, and interest in the Asserted Patents, including the right to recover damages for past, present,

and future infringement.
            Case 6:22-cv-00077-ADA Document 4 Filed 01/20/22 Page 2 of 40




       3.       On information and belief, Defendant Apple Inc. is a publicly traded corporation

organized under the laws of the State of California, with its principal place of business at One

Apple Park Way, Cupertino, CA 95014. Apple may be served with process through its registered

agent, CT Corporation System, at 818 West Seventh Street, Suite 930, Los Angeles, CA 90017.

                                 JURISDICTION AND VENUE

       4.       This action arises under the patent laws of the United States, Title 35 of the United

States Code. This Court has original subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and

1338(a).

       5.       This Court has personal jurisdiction over Apple in this action because Apple has

committed acts within this District giving rise to this action and has established minimum contacts

with this forum such that the exercise of jurisdiction over Apple would not offend traditional

notions of fair play and substantial justice.         Apple, directly and through subsidiaries or

intermediaries, has committed and continues to commit acts of infringement in this District by,

among other things, making, using, importing, offering to sell, and selling products that infringe

the Asserted Patents. Apple has not contested personal jurisdiction in this District in prior cases.

See, e.g., Scramoge Tech. Ltd. v. Apple Inc., No.6:21-cv-00579-ADA, Dkt. No. 31, ¶ 5 (W.D. Tex.

Sept. 14, 2021).

       6.       Venue is proper in this District under 28 U.S.C. §§ 1391 and 1400(b). Venue is

proper in this District under 28 U.S.C. §§ 1391 and 1400(b). Apple is registered to do business in

Texas, and upon information and belief, Apple has transacted business in this District and have

committed acts of direct and indirect infringement in this District by, among other things, making,

using, offering to sell, selling, and importing products that infringe the Asserted Patents. Apple

has regular and established places of business in this District, including at 12545 Riata Vista Cir.,




                                                  2
             Case 6:22-cv-00077-ADA Document 4 Filed 01/20/22 Page 3 of 40




Austin, Texas 78727; 12801 Delcour Dr., Austin, Texas 78727; and 3121 Palm Way, Austin,

Texas 78758.1 Apple also has job listings for jobs relating to the accused 5G and Ultra-Wideband

(“UWB”) technologies in Austin, Texas. 2

                                    THE ASSERTED PATENTS

        7.       On January 1, 2013, the United States Patent and Trademark Office issued U.S.

Patent No. 8,345,780 (“the ’780 Patent”), entitled “Wireless communication system compensating

for interference and related methods,” after full and fair examination. Plaintiff is the assignee of

all rights, title, and interest in and to the ’780 Patent and possesses all rights of recovery under

the ’780 Patent, including the right to recover damages for past, present, and future infringement.

The ’780 Patent is valid and enforceable. A true and correct copy of the ’780 Patent is attached

hereto as Exhibit 1.

        8.       On January 22, 2008, the United States Patent and Trademark Office issued U.S.

Patent No. 7,321,777 (“the ’777 Patent”), entitled “Wireless communications system including a

wireless device locator and related methods,” after full and fair examination. Plaintiff is the

assignee of all rights, title, and interest in and to the ’777 Patent and possesses all rights of recovery

under the ’777 Patent, including the right to recover damages for past, present, and future




1       See,    e.g.,     https://www.apple.com/newsroom/2019/11/apple-expands-in-austin/;
https://www.google.com/maps/place/Apple+Inc./@30.4324406,-
97.7359733,15z/data=!4m5!3m4!1s0x0:0x5852421ec4ac410c!8m2!3d30.4322558!4d-
97.7359386; https://www.apple.com/retail/domainnorthside/.
2   See, e.g.,       https://jobs.apple.com/en-us/details/200308092/modem-prototype-system-
architect?team=HRDWR; https://jobs.apple.com/en-us/details/200206438/soc-qos-performance-
engineer?team=HRDWR;                https://jobs.apple.com/en-us/details/200294470/field-design-
engineer?team=HRDWR; https://jobs.apple.com/en-us/details/200292503/nfc-uwb-field-design-
engineer?team=HRDWR; https://jobs.apple.com/en-us/details/200303024/automation-tools-qa-
design-engineer?team=HRDWR.


                                                    3
             Case 6:22-cv-00077-ADA Document 4 Filed 01/20/22 Page 4 of 40




infringement. The ’777 Patent is valid and enforceable. A true and correct copy of the ’777 Patent

is attached hereto as Exhibit 2.

                                   APPLE’S INFRINGEMENT

        9.       The allegations provided below are exemplary and without prejudice to Plaintiff’s

infringement contentions provided pursuant to the Court’s scheduling order and local rules.

Plaintiff’s claim construction contentions regarding the meaning and scope of the claim terms will

be provided under the Court’s scheduling order and local rules. As detailed below, each element

of at least one claim of each of the Asserted Patents is literally present in the accused products. To

the extent that any element is not literally present, each such element is present under the doctrine

of equivalents. Plaintiff’s analysis below should not be taken as an admission that the preamble is

limiting. While publicly available information is cited below, Plaintiff may rely on other forms of

evidence to prove infringement, including evidence that is solely in the possession of Apple and/or

third parties.

        10.      The accused products include at least the following products, as well as products

with reasonably similar functionality. Identification of the accused products will be provided in

plaintiff’s infringement contentions pursuant to the Court’s scheduling order and local rules.

Apple imports into the United States, uses, makes, offers for sale, and sells in the United States

the following products and infringes the asserted claims of the patents-in-suit (the “Accused

Products”):

        •     ’780 Patent Accused Products: iPhone 12, iPhone 12 Mini, iPhone 12 Pro, iPhone 12

              Pro Max, iPhone 13, iPhone 13 Mini, iPhone 13 Pro, iPhone 13 Pro Max, iPad Pro,

              iPad Mini, and any other products with 5G functionality.




                                                  4
            Case 6:22-cv-00077-ADA Document 4 Filed 01/20/22 Page 5 of 40




        •     ’777 Patent Accused Products: iPhone 11, iPhone 11 Pro, iPhone 11 Pro Max, iPhone

              12, iPhone 12 Mini, iPhone 12 Pro, iPhone 12 Pro Max, iPhone 13, iPhone 13 Mini,

              iPhone 13 Pro, iPhone 13 Pro Max, AirTags, and any other products with UWB

              functionality.

                                              COUNT I

                        INFRINGEMENT OF U.S. PATENT NO. 8,345,780

        11.      Plaintiff realleges and incorporates by reference the foregoing paragraphs as if fully

set forth herein.

        12.      Apple has been and is now directly infringing the ’780 Patent, literally and/or under

the doctrine of equivalents, in violation of 35 U.S.C. § 271(a), including by making, using, selling,

and/or offering for sale in the United States or importing into the United States infringing products,

including at least the Accused Products identified above. The Accused Products satisfy all of the

claim limitations of one or more claims of the ’780 Patent, including but not limited to claim 9.

        13.      Claim 9 of the ’780 Patent recites “[a] wireless communications device operable to

communicate with an other wireless communications device via a wireless communications link

having at least one settable link characteristic.” To the extent the preamble is limiting, the Accused

Products each comprise a wireless communications device operable to communicate with an other

wireless communications device via a wireless communications link having at least one settable

link characteristic. For example, the Accused Products are configured to communicate with base

stations using 5G cellular technology:




                                                   5
         Case 6:22-cv-00077-ADA Document 4 Filed 01/20/22 Page 6 of 40




See https://www.apple.com/iphone-13/specs/.

       14.    Claim 9 of the ’780 Patent recites that the “wireless communications device”

comprises “an orthogonal frequency-division multiplexing (OFDM) wireless transceiver.” The

Accused Products each comprise an orthogonal frequency-division multiplexing (OFDM) wireless

transceiver. For example, 5G uses OFDM in both the uplink and the downlink:




See 3GPP TS 38.300 V15.13.0.




                                              6
          Case 6:22-cv-00077-ADA Document 4 Filed 01/20/22 Page 7 of 40




See 3GPP TS 38.211 V15.9.0.

       15.     Claim 9 of the ’780 Patent recites “a controller coupled to said wireless transceiver

and configured to store short term and long term historical characteristics of interference.” The

Accused Products each comprise a controller coupled to said wireless transceiver and configured

to store short term and long term historical characteristics of interference. For example, the

controllers in the Accused Products are configured to store short term and long term historical

characteristics of interference:




                                                 7
        Case 6:22-cv-00077-ADA Document 4 Filed 01/20/22 Page 8 of 40




See 3GPP TS 38.331 V15.15.0.




                                      8
        Case 6:22-cv-00077-ADA Document 4 Filed 01/20/22 Page 9 of 40




See 3GPP TS 38.331 V15.15.0.




See 3GPP TS 38.331 V15.15.0.




                                      9
        Case 6:22-cv-00077-ADA Document 4 Filed 01/20/22 Page 10 of 40




See Erik Dahlman et al., 5G NR: The Next Generation Wireless Access Technology, Ch. 8

Abstract (2d Ed. 2018).




See Chris Johnson, 5G New Radio in Bullets, Section 3.7.4. (2019).




See Chris Johnson, 5G New Radio in Bullets, Section 3.7.4. (2019).




See Chris Johnson, 5G New Radio in Bullets, Section 3.7.4. (2019).




See Erik Dahlman et al., 5G NR: The Next Generation Wireless Access Technology, § 8.1.4 (2d

Ed. 2018).




                                              10
        Case 6:22-cv-00077-ADA Document 4 Filed 01/20/22 Page 11 of 40




See 3GPP TS 38.331 V15.15.0.

       16.    Claim 9 of the ’780 Patent recites that the “controller” is configured to “detect

received interference.” The Accused Products each comprise a controller configured to detect

received interference. For example, the Accused Products are configured to receive the channel

state information (“CSI”) CSI-ReportConfig parameter structure that informs the user equipment

(“UE”) of the channel and interference measurements it should make:




See Chris Johnson, 5G New Radio in Bullets, Section 3.7.4. (2019).



                                              11
         Case 6:22-cv-00077-ADA Document 4 Filed 01/20/22 Page 12 of 40




See Erik Dahlman et al., 5G NR: The Next Generation Wireless Access Technology, § 8.2 (2d Ed.

2018).




See 3GPP TS 38.331 V15.15.0.




                                             12
       Case 6:22-cv-00077-ADA Document 4 Filed 01/20/22 Page 13 of 40




See 3GPP TS 38.331 V15.15.0.




See 3GPP TS 38.214 V15.14.0.




See 3GPP TS 38.214 V15.14.0.


                                     13
         Case 6:22-cv-00077-ADA Document 4 Filed 01/20/22 Page 14 of 40




See 3GPP TS 38.214 V15.14.0.




See 3GPP TS 38.211 V15.9.0.

       17.     Claim 9 of the ’780 Patent recites that the “controller” is configured to “determine

a type of the received interference from among a plurality of interference types comprising

wideband interference, self interference, and narrowband interference based upon comparing at

least one characteristic of a current received signal with the short term and long term historical

characteristics of interference.” The Accused Products each comprise a controller configured to

determine a type of the received interference from among a plurality of interference types

comprising wideband interference, self interference, and narrowband interference based upon

comparing at least one characteristic of a current received signal with the short term and long term



                                                14
         Case 6:22-cv-00077-ADA Document 4 Filed 01/20/22 Page 15 of 40




historical characteristics of interference. For example, the channel state information – reference

signal (“CSI-RS”) and channel state information – interference measurement (“CSI-IM”) resource

sets may be specified across the entire bandwidth-part or just a part of the bandwidth that the UE

is configured to receive:




See Erik Dahlman et al., 5G NR: The Next Generation Wireless Access Technology, § 8.1.2 (2d

Ed. 2018).




                                               15
        Case 6:22-cv-00077-ADA Document 4 Filed 01/20/22 Page 16 of 40




See Chris Johnson, 5G New Radio in Bullets, Section 3.7.4. (2019).




See 3GPP TS 38.331 V 15.15.0.




                                              16
        Case 6:22-cv-00077-ADA Document 4 Filed 01/20/22 Page 17 of 40




See 3GPP TS 38.331 V 15.15.0.




                                      17
       Case 6:22-cv-00077-ADA Document 4 Filed 01/20/22 Page 18 of 40




See 3GPP TS 38.214 V15.14.0.




                                     18
        Case 6:22-cv-00077-ADA Document 4 Filed 01/20/22 Page 19 of 40




See 3GPP TS 38.214 V15.14.0.




See 3GPP TS 38.214 V15.14.0.

For example, channel measurements such as CQI are based upon either multiple in time or single

time readings.



                                             19
        Case 6:22-cv-00077-ADA Document 4 Filed 01/20/22 Page 20 of 40




See 3GPP TS 38.214 §5.2.2.1.

For example, rank indicator (“RI”) and pre-coding matrix indicator (“PMI”) are also computed

based on SRS measurements.




                                            20
         Case 6:22-cv-00077-ADA Document 4 Filed 01/20/22 Page 21 of 40




See Erik Dahlman et al., 5G NR: The Next Generation Wireless Access Technology, § 11.3.1 (2d

Ed. 2018).

       18.     Claim 9 of the ’780 Patent recites that the “controller” is configured to “set the at

least one settable link characteristic to compensate for the received interference based upon the

interference type.” The Accused Products each comprise a controller configured to set the at least

one settable link characteristic to compensate for the received interference based upon the

interference type. For example, the Accused Products report at least wideband and subband CQI,

wideband and subband PMI, and also RI:




See 3GPP TS 38.214 V.15.14.0 §5.2.1.4.




See 3GPP TS 38.214 V.15.14.0 §5.2.1.4.




                                                21
        Case 6:22-cv-00077-ADA Document 4 Filed 01/20/22 Page 22 of 40




See 3GPP TS 38.214 V.15.14.0.




                                      22
          Case 6:22-cv-00077-ADA Document 4 Filed 01/20/22 Page 23 of 40




See 3GPP TS 38.212 V15.12.0 §6.3.1.1.2.

        19.     Apple also knowingly and intentionally induces infringement of one or more claims

of the ’780 Patent in violation of 35 U.S.C. § 271(b). As of at least the filing and service of this

complaint, Apple has knowledge of the ’780 Patent and the infringing nature of the Accused

Products. Despite this knowledge of the ’780 Patent, Apple continues to actively encourage and

instruct its customers and end users (for example, through user manuals and online instruction

materials on its website) to use the Accused Products in ways that directly infringe the ’780 Patent,

for example by utilizing the accused 5G functionality on the Accused Products in an infringing

manner.       See, e.g., https://support.apple.com/en-gb/guide/iphone/iph3dd5f213/15.0/ios/15.0

(Apple iPhone 13 User Manual – “View or change cellular data settings on iPhone”). Further,

Apple     advertises    to    customers     that        “[n]o   one   does   5G     like   iPhone.”

https://www.apple.com/iphone-13/. Apple provides these instructions and online materials to

customers and end users knowing and intending (or with willful blindness to the fact) that its

customers and end users will commit these infringing acts. Apple also continues to make, use,

offer for sale, sell, and/or import the Accused Products, despite its knowledge of the ’780 Patent,

thereby specifically intending for and inducing its customers to infringe the ’780 Patent through

the customers’ normal and customary use of the Accused Products.

        20.     Apple has also infringed, and continues to infringe, one or more claims of the ’780

Patent by selling, offering for sale, or importing into the United States, the Accused Products,

knowing that the Accused Products constitute a material part of the inventions claimed in the ’780

Patent, are especially made or adapted to infringe the ’780 Patent, and are not staple articles or

commodities of commerce suitable for non-infringing use (as exemplified by the materials cited

above). As of at least the filing and service of this complaint, Apple has knowledge of the ’780




                                                   23
         Case 6:22-cv-00077-ADA Document 4 Filed 01/20/22 Page 24 of 40




Patent and the infringing nature of the Accused Products. Apple has been, and currently is,

contributorily infringing the ’780 Patent in violation of 35 U.S.C. §§ 271(c) and (f).

        21.     By making, using, offering for sale, selling and/or importing into the United States

the Accused Products, Apple has injured Plaintiff and is liable for infringement of the ’780 Patent

pursuant to 35 U.S.C. § 271.

        22.     As a result of Apple’s infringement of the ’780 Patent, Plaintiff is entitled to

monetary damages (past, present, and future) in an amount adequate to compensate for Apple’s

infringement, but in no event less than a reasonable royalty for the use made of the invention by

Apple, together with interest and costs as fixed by the Court.

                                             COUNT II

                       INFRINGEMENT OF U.S. PATENT NO. 7,321,777

        23.     Plaintiff realleges and incorporates by reference the foregoing paragraphs as if fully

set forth herein.

        24.     Apple has been and is now directly infringing the ’777 Patent, literally and/or under

the doctrine of equivalents, in violation of 35 U.S.C. § 271(a), including by making, using, selling,

and/or offering for sale in the United States or importing into the United States infringing products

and systems, including at least the Accused Products identified above. The Accused Products

satisfy all of the claim limitations of one or more claims of the ’777 Patent, including but not

limited to claim 12.

        25.     Claim 12 of the ’777 Patent recites “[a] wireless device locator for locating a target

wireless communications device.” To the extent the preamble is limiting, the Accused Products

comprise of a wireless device locator for locating a target wireless communications device. For




                                                 24
         Case 6:22-cv-00077-ADA Document 4 Filed 01/20/22 Page 25 of 40




example, the accused Apple iPhone 13 supports ultra-wideband functionality for locating a target

wireless communications device, such as the Apple AirTag:




See https://www.apple.com/iphone-13/specs/.




See                                    https://www.apple.com/airtag/?afid=p238%7Cs43Yu6bTM-

dc_mtid_1870765e38482_pcrid_573879837530_pgrid_120928559493_&cid=aos-us-kwgo-btb--

slid---product-.

       26.     Claim 12 of the ’777 Patent recites that the wireless device locator comprises “at

least one antenna and a transceiver connected thereto.” The Accused Products comprise at least

one antenna and a transceiver connected thereto. For example, the Apple iPhone 13 comprises at

least one antenna and a transceiver:




                                                25
         Case 6:22-cv-00077-ADA Document 4 Filed 01/20/22 Page 26 of 40




See https://www.apple.com/iphone-13/specs/.




See https://www.techinsights.com/blog/teardown/apple-iphone-13-pro-teardown.

       27.     Claim 12 of the ’777 Patent recites “a controller for” “cooperating with said

transceiver for transmitting a plurality of location finding signals to the target wireless

communications device and receiving a respective reply signal therefrom for each of said location

finding signals.” The Accused Products comprise a controller for cooperating with said transceiver

for transmitting a plurality of location finding signals to the target wireless communications device

and receiving a respective reply signal therefrom for each of said location finding signals. For

example, the Apple iPhone 13 comprises a controller that cooperates with a transceiver for

transmitting a plurality of location finding signals to a target wireless communications device (such



                                                 26
         Case 6:22-cv-00077-ADA Document 4 Filed 01/20/22 Page 27 of 40




as the Apple AirTag) and receiving a respective reply signal therefrom for each of said location

finding signals:




See                                 https://www.apple.com/airtag/?afid=p238%7Cs43Yu6bTM-

dc_mtid_1870765e38482_pcrid_573879837530_pgrid_120928559493_&cid=aos-us-kwgo-btb--

slid---product-.




                                              27
        Case 6:22-cv-00077-ADA Document 4 Filed 01/20/22 Page 28 of 40




See https://support.apple.com/en-us/HT210967.




                                            28
Case 6:22-cv-00077-ADA Document 4 Filed 01/20/22 Page 29 of 40




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                        *     *     *




                              29
         Case 6:22-cv-00077-ADA Document 4 Filed 01/20/22 Page 30 of 40




See IEEE 802.15.4z-2020 - IEEE Standard for Low-Rate Wireless Networks—Amendment 1:

Enhanced Ultra Wideband (UWB) Physical Layers (PHYs) and Associated Ranging Techniques

at Sections 6.9.1.2.2, 6.9.1.2.3.

        28.     Claim 12 of the ’777 Patent recites “a controller for” “determining a propagation

delay associated with the transmission of each location finding signal and the respective reply

signal therefor based upon a known device latency of the target wireless communications device.”

The Accused Products comprise a controller for determining a propagation delay associated with

the transmission of each location finding signal and the respective reply signal therefor based upon

a known device latency of the target wireless communications device. For example, the Apple



                                                30
         Case 6:22-cv-00077-ADA Document 4 Filed 01/20/22 Page 31 of 40




iPhone 13 comprises a controller for determining a propagation delay associated with the

transmission of each location finding signal and the respective reply signal therefor based upon a

known device latency of the target wireless communications device (such as an Apple AirTag):




See                                  https://www.apple.com/airtag/?afid=p238%7Cs43Yu6bTM-

dc_mtid_1870765e38482_pcrid_573879837530_pgrid_120928559493_&cid=aos-us-kwgo-btb--

slid---product-.




                                               31
        Case 6:22-cv-00077-ADA Document 4 Filed 01/20/22 Page 32 of 40




See https://support.apple.com/en-us/HT210967.




                                            32
Case 6:22-cv-00077-ADA Document 4 Filed 01/20/22 Page 33 of 40




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                              33
         Case 6:22-cv-00077-ADA Document 4 Filed 01/20/22 Page 34 of 40




See IEEE 802.15.4z-2020 - IEEE Standard for Low-Rate Wireless Networks—Amendment 1:

Enhanced Ultra Wideband (UWB) Physical Layers (PHYs) and Associated Ranging Techniques

at Sections 6.9.1.2.2, 6.9.1.2.3.

        29.     Claim 12 of the ’777 Patent recites “a controller for” “estimating a range to the

target wireless communications device based upon a plurality of determined propagation delays.”

The Accused Products comprise a controller for estimating a range to the target wireless

communications device based upon a plurality of determined propagation delays. For example,

the Apple iPhone 13 comprises a controller for estimating a range to the target wireless




                                               34
         Case 6:22-cv-00077-ADA Document 4 Filed 01/20/22 Page 35 of 40




communications device (such as an Apple AirTag) based upon a plurality of determined

propagation delays:




See                            https://www.apple.com/airtag/?afid=p238%7Cs43Yu6bTM-

dc_mtid_1870765e38482_pcrid_573879837530_pgrid_120928559493_&cid=aos-us-kwgo-btb--

slid---product-.




                                        35
        Case 6:22-cv-00077-ADA Document 4 Filed 01/20/22 Page 36 of 40




See https://support.apple.com/en-us/HT210967.




                                            36
         Case 6:22-cv-00077-ADA Document 4 Filed 01/20/22 Page 37 of 40




See IEEE 802.15.4z-2020 - IEEE Standard for Low-Rate Wireless Networks—Amendment 1:

Enhanced Ultra Wideband (UWB) Physical Layers (PHYs) and Associated Ranging Techniques

at Section 6.9.1.1.

       30.     Apple also knowingly and intentionally induces infringement of one or more claims

of the ’777 Patent in violation of 35 U.S.C. § 271(b). As of at least the filing and service of this

complaint, Apple has knowledge of the ’777 Patent and the infringing nature of the Accused

Products. Despite this knowledge of the ’777 Patent, Apple continues to actively encourage and

instruct its customers and end users (for example, through user manuals and online instruction

materials on its website) to use the Accused Products in ways that directly infringe the ’777 Patent,

for example by utilizing the accused ultra-wideband functionality on the Accused Products in an

infringing            manner.               See,         e.g.,        https://support.apple.com/en-

gb/guide/iphone/ipha779f0c10/15.0/ios/15.0 (Apple iPhone 13 User Manual – “Locate an AirTag

or other item in Find My on iPhone”); https://support.apple.com/en-us/HT210973 (Apple AirTag

instructions). Further, Apple advertises to its customers and end users that the “Precision Finding”




                                                   37
         Case 6:22-cv-00077-ADA Document 4 Filed 01/20/22 Page 38 of 40




mode on an Apple handset utilizes the infringing ultra-wideband technology to locate an Apple

AirTag. See https://support.apple.com/en-gb/HT210967. Apple provides these instructions and

online materials knowing and intending (or with willful blindness to the fact) that its customers

and end users will commit these infringing acts. Apple also continues to make, use, offer for sale,

sell, and/or import the Accused Products, despite its knowledge of the ’777 Patent, thereby

specifically intending for and inducing its customers to infringe the ’777 Patent through the

customers’ normal and customary use of the Accused Products.

       31.     Apple has also infringed, and continues to infringe, one or more claims of the ’777

Patent by selling, offering for sale, or importing into the United States, the Accused Products,

knowing that the Accused Products constitute a material part of the inventions claimed in the ’777

Patent, are especially made or adapted to infringe the ’777 Patent, and are not staple articles or

commodities of commerce suitable for non-infringing use (as exemplified by the materials cited

above). As of at least the filing and service of this complaint, Apple has knowledge of the ’777

Patent and the infringing nature of the Accused Products. Apple has been, and currently is,

contributorily infringing the ’777 Patent in violation of 35 U.S.C. §§ 271(c) and (f).

       32.     By making, using, offering for sale, selling and/or importing into the United States

the Accused Products, Apple has injured Plaintiff and is liable for infringement of the ’777 Patent

pursuant to 35 U.S.C. § 271.

       33.     As a result of Apple’s infringement of the ’777 Patent, Plaintiff is entitled to

monetary damages (past, present, and future) in an amount adequate to compensate for Apple’s

infringement, but in no event less than a reasonable royalty for the use made of the invention by

Apple, together with interest and costs as fixed by the Court.




                                                38
         Case 6:22-cv-00077-ADA Document 4 Filed 01/20/22 Page 39 of 40




                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that this Court enter:

       a.        A judgment in favor of Plaintiff that Apple has infringed, either literally and/or

under the doctrine of equivalents, the ’780 and ’777 Patents;

       b.        A judgment and order requiring Apple to pay Plaintiff its damages (past, present,

and future), costs, expenses, and pre-judgment and post-judgment interest for Apple’s

infringement of the ’780 and ’777 Patents;

       c.        A judgment and order requiring Apple to pay Plaintiff compulsory ongoing

licensing fees, as determined by the Court in equity.

       d.        A judgment and order requiring Apple to provide an accounting and to pay

supplemental damages to Plaintiff, including without limitation, pre-judgment and post-judgment

interest and compensation for infringing products released after the filing of this case that are not

colorably different from the accused products;

       e.        A judgment and order finding that this is an exceptional case within the meaning

of 35 U.S.C. § 285 and awarding to Plaintiff its reasonable attorneys’ fees against Apple; and

       f.        Any and all other relief as the Court may deem appropriate and just under the

circumstances.

                                  DEMAND FOR JURY TRIAL

       Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by jury of

any issues so triable by right.




                                                 39
        Case 6:22-cv-00077-ADA Document 4 Filed 01/20/22 Page 40 of 40




Dated: January 20, 2022             Respectfully submitted,

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                                      40
